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                       IN THE UNITED STATES DISTRIFNCRIIJAT

                               (SOUTHERN           irsin
                       FOR THE MIDDLE DISTRICTWF—ArAliAMA
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ALLIED WORLD INSURANCE COMPANY                       )

                              PLAINTIFF,                       Hil
                                                                 3LCT°Ticyils1,K0.       qaq
                                "
               v.               )
                                )
PROFESSIONAL RESOURCE           )
MANAGEMENT OF WIREGRASS,L.L.C., )
SHAKIR MEGHANI,AND JEFFREY TODD )
NORRIS                          )
                                )
                   DEFENDANTS. )

                    COMPLAINT FOR RESCISSION.AND.RECOUPMENT

       Plaintiff, Allied World Insurance Company ("Allied World"), by undersigned counsel,

sues Defendants Professional Resource Management of Wiregrass, L.L.C. (`PRM"), Shakir

Meghani, and Jeffrey T. Norris (together, the "Insureds") and alleges as follows:

                      INTRODUCTION AND NATURE OF THE CASE

       Allied World seeks judicial confittnation of its rescission of a professional liability

insurance policy it issued to the Insureds. When applying for the policy, Defendants Meghani and

Norris knew that the Alabama Board of Medical Examiners(the "Boarr)was investigating them

in connection with a complaint that their unlawful overprescribing of medication resulted in the

overdose death oftheir patient. But neither Defendant inforMed Allied World ofthe investigation

or the allegations that they were running a pill mill(or, as the complainant called it, a "drug house)

before the policy incepted.

       As a result ofthe investigation, the Board and Medical Licensure Commission of Alabarna

(the "Commission") initiated proceedings to revoke Dr. Meghani's medical and controlled

sUbstances licenses and Mr. Norris' physician assistant license. Allied World is defending the
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Insureds in the three licensing proceedings pending the outcome of this matter and requests an

order that it is entitled to recoup all fees and costs it incurs defending these actions under the

Policy.

                                            THE PARTIES

          1.      Allied World is a corporation organized and existing under the laws of New

Hampshire with its principal place of business located in-New York.

          2.      PRM is a limited liability company organized and existing under the laws of the

State of Alabama with its principal place of business in Dothan, Alabama. PRM's sole member is

Defendant Shakir Meghani.

          3.      Shakir Meghani is a natural person who is a citizen of and resides in Alabama.

          4.      Jefferey T. Norris is a natural person who is a citizen of and resides in Alabama.

                                   J.URISDICTION AND VENUE

          5.      This Court has original jurisdiction over this matter in accordance with 28 U.S.C.

§ 1332 because there is diversity of citizenship among the parties and the amount in controversy

exceeds the sum of $75,000, exclusive of interest, attorneys' fees, and costs since the at-issue

insurance policy has a $1 million per claim and $3 million aggregate limit of liability and $50,000

per proceeding limit ofliability, and Allied World is currently defending three proceedings against

the Insureds.

          6.      This Court has personal jurisdiction over the Defendants because they are an

Alabama limited liability company with its principal place of business in Alabama and individuals

who are citizens of Alabama that all engage in substantial activities within this State.

          7.      Venue is proper in the United States District Court for the Middle District, Southern

Division, of Alabama, because the Policy was issued and delivered in this District and Division
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and a substantial portion of the facts, circumstances, and events at issue in this matter, took place

in this District.

                                FACTS COMMON TO ALL COUNTS

I.      The Alabama Board of Medical Examiners Begins Its Investigation of Dr. Meghani
        and Mr. Norris

        8.      On or about March 23, 2018, Mike Baxley filed a complaint with the BOard

concerning the death of his wife, Cindy Baxley, who was under the care of PRM,Dr. Meghani,

and Mr. Norris.

        9.          Mr. Baxley alleged that his wife's August 9, 2017 death of a cardiopulmonary

respiratory arrest was caused by an overdose of prescription pain medication and attached a

Certificate of Death reflecting that. "possible polypharmacy overdose was a "significant

condition" that contributed to Ms. Baxley's death.

        10.         Mr. Baxley's complaint stated that ItThey don't counsel the people they just write

them prescription[.] It's just a drug house."

        11.         By letter dated June 12, 2018, the Board provided Dr. Meghani with a copy of Mr.

Baxley's complaint and advised that it was investigating Mr. Baxley's complaint against hirn and

Mr. Norris.

        12.         The next day, via the issuance of an Investigative Subpoena Duces Tecum dated

June 13,2018, the Board instructed Dr. Meghani to produce Ms. Baxley's medical records and the

medical records for .nine other patients that the Board had identified based on a review of Dr.

Meghani's prescribing history in the Prescription Drug Monitoring database.

        13.         On June 14, 2018, Dr. Meghani signed a "Notice of Irivestigation" acknowledging

that he is under investigation and will retnain under investigation until he is "notified by the Board

of any disposition ofthe investigation."



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       14.     By letter dated June 20,2018,Dr. Meghani responded on behalf of himself and Mr.

Norris to the Board's Subpoena by sending the requested medical records and providing a brief

synopsis of the care and treatment of each patient.

       15.     Mr. Norris also signed this June 20,2018 letter that was sent to the Board.

II.    While the Investigation is Ongoing,Dr. Meghani Renews His Insurance Coverage

       16.     On July 2, 2018, American Professional AgenCy—the Policy s underwriter—

received a renewal application for Psychiatrists' Professional and Business Liability Insurance

Coverage (the "Renewal Application").

       17.     Despite not being provided until July 2, 2018, the Renewal Application indicates

that it was signed on April 6, 2018.

       18.     A true and correct copy of the Renewal Application, with premium information on

page one redacted, is attached as Exhibit A.

       19.     Among other questions and as pertinent to this lawsuit, the Renewal Application

contains the following questions on pages 6-7:

       IV. REPRESENTATIONS


       14c.    Are there any complaints, charges or investigations pending against any
               person named in Question 8, including yourself, by a licensing board or
               professional ethics body for violation of ethics codes, professional
               misconduct, unprofessional conduct, incompetence or negligence in any
               state or country?

               If yes, please give full particulars and copies of charges, correspondence,
               and any findings in order for your Application to be considered.



       14f.    Are there any circumstances, including any loss of private or confidential
               infortnation,of which any person named in Question 8, including yourself,
               is aware of that may result in any professional liability claim or suit being
               made against any person named in question 8, including yourself, their
               predecessors in business or against any past or present partner(s)?


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               If yes, please give full particulars in order for your application to be
               considered.

       20.     Dr. Meghani answered "No" to Questions 14c. and 14E He did not provide any

information concerning the Board's ongoing investigation or its underlying allegations that Dr.

Meghani and Mr. Norris were running a "drug house," that one patient had died and her widower

had filed a Board complaint, and that the Board was investigating not only the care provided to

that single patient but also nine others that it had identified through a review of Dr. Meghani s

prescribing history.

       21.     Directly below those Questions, the Renewal Application provides:

       V. NOTICES TO APPLICANTS & FRAUD WARNINGS

       The undersigned, as authorized agent of all individuals and entities proposed for
       this insurance, represents that, to the best of his/her knowledge and belief, after
       diligent inquiry, the statements in this Application and any attachments or
       information submitted to or obtained by the Insurer in connection with this
       Application (together referred to as the "Applicatioe) are true and complete.

       The information in this Application is material to the risk accepted by [Allied
       World]. If a policy is issued it will be in reliance by [Allied World] upon the
       Application, and the Application will be the basis of the contract. The Application
       is on file with [Allied Word], and shall be deemed to be attached to, and made a
       part of, and incorporated into the Policy, if issued.

       [Allied World] is authorized to make any inquiry in connection with this
       Application. [Allied World's] acceptance ofthis Application or the making of any
       subsequent inquiry does not bind the Applicant or [Allied World] to complete the
       insurance or issue a policy.

       If the information in this Application materially changes prior to the effective date
       of the Policy, the Applicant will immediately notify [Allied World] and [Allied
       World] may modify or withdraw any quotation or agreement to bind insurance.

       NOTICE TO ALABAMA APPLICANTS:"ANY PERSON WHO KNOWINGLY
       PRESENTS A FALSE OR FRALTDULENT CLAIM FOR PAYMENT OF A
       LOSS OR BENEFIT, OR KNOWINGLY PRESENTS FALSE INFORMATION
       IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND
       MAY BE SUBJECT TO RESTITUTION FINES OR CONFINEMENT IN
       PRISON, OR ANY COMBINATION THEREOF."


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       22.    Even if the Renewal Application was completed in April, Dr. Meghani had ample

time prior to its submission on July 2 and the July 14 effective date of the Policy to comply with

the obligation to immediately update the information in the Renewal Application to diselose the

Board's ongoing investigation and its underlying allegations.

III.   The Policv

       23.     Allied World issued a renewal Claims-Made Psychiatrists' Professional and

Business Liability Policy bearing Policy Number 0001-7440 to the Insureds for the July 14, 2018

to July 14, 2019 policy period (the "Policy").

       24.     A true and correct copy of the Policy, with premium information on the

Declarations Page redacted, is attached as Exhibit B.

       25.     The first page of the Policy's coverage form provides in pertinent part:

       In consideration of the payrnent of the premium and in reliance upon the
       application submitted in connection with the underwriting of this Policy, which
       shall be deemed to be attached to, incorporated into, and made a part ofthis Policy,
       [Allied World] and[PRM],on behalfofall insureds,[11 agree as follows . (italics
       added for emphaSis)

       26.     Section X.(Representations) ofthe Policy further provides:

       By accepting this Policy, the Insured agrees that the particulars and statements in
       the application submitted in connection with the underwriting ofthis Policy ate true
       and that they are the Insured's agreements and representations.

       The Insured acknowledges that this Policy is issued in reliance upon the truth of
       those particulars and statements, which are deemed to be incorporated into and
       constitute a part of this Policy and which are the basis for this Policy.

       27.     Allied World issued the Policy in reliance on the truth ofthe answers and responses

by Dr. Meghani in the Renewal Application.




1 Terms in bold are defined in the Policy.


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I .    The Board and Commission Take Action A2ainst the Insureds

       28.     There are currently two administrative actions pending against Dr. Meghani and

one administrative action pending against Mr. Norris (the "Administrative Actions").

       29.     First, on April 1, 2019, the Board filed an Order to Show Cause (bearing Case No.

2019-04) against Dr. Meghani seeking the revocation of his Alabama Controlled Substances

Certificate.

       30.     Second, on or about April 11, 2019; the Board filed an Administrative Complaint

with the Commission bearing Case No. 19-062 seeking the revocation of Dr. Meghani's license to

practice medicine in Alabama.

       31.     Third, on or about April 1, 2019, the Board filed an Order to Show Cause (bearing

Case No. 2019-05) against Mr. Norris seeking the revocation of Mr. Norri'physician assistant

license and his Qualified Alabama Controlled Substances Certificate.

V.     The Insureds Tender the Administrative Actions to Allied World Which Learns of
       the Material Misrepresentations in the Renewal Application and Rescinds the Policv

       32.     The Insureds tendered the Administrative Actions to Allied World for a defense

under the Policy.

       33.     During its investigation of the Administrate Actions, Allied World first discovered

the material misrepresentations in the Renewal Application (i.e., the failure to disclose the Board's

investigation and that a widower was alleging that Dr. Meghani's care caused the death ofhis wife)

and rescinded the Policy.

       34.     Although Allied World has explained why the Renewal Application contains

rnisrepresentations, the Insureds maintain that they did not make any misrepresentations.

       35.     In light of that denial, Allied World has agreed to continue to furnish the Insureds

with a defense of the Administrative Actions under the Policy, subject to a reservation of rights.



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                 COUNT I — RESCISSION OF THE POLICY
      (DECLARATION THAT THE POLICY IS VOID AB INITIO DUE TaTHE
     MISREPRESENTATION IN RENEWAL APPLICATION.QUESTION NO.14.c)

       36.     Allied World incorporates the allegations in paragraphs 1 through 35.

       37.     The Policy was issued by Allied World to the Insureds in Alabama and is subject

to Alabama law.

       38.     Under Alabama Code § 27-14-7, an insurer may rescind an insurance policy when

the insured has made material misrepresentations or omissions or concealed facts in an application,

which affected the insurer's decision to issue the policy, the amount of the coverage provided, or

the amount of the premium.

       39.     In response to Renewal Application Question Number 14.c. Dr. Meghani,on behalf

of the Insureds, misrepresented that there were no complaints, charges or investigations pending

against him or Mr. Norris by a licensing board or professional ethics body for violation of ethics

codes, professional misconduct, unprofessional conduct, incompetence or negligence in Alabama.

       40.     This misrepresentation was material to Allied World's acceptance ofthe risk in that

it affected Allied World's decision to issue the Policy, the amount ofthe coverage provided, or the

amount ofthe premiuM it charged.

       41.     Had the Insureds provided Allied World with the true facts, incltding all

information related to the Board's ongoing investigation, Allied World would not have issued the

Policy or would have issued the Policy upon different terms.

       42.     As a result of Allied         World's justifiable reliance on the Insureds'

misrepresentations andlot omissions of material fact, Allied World has been and continues to be

injured because it has and continues to provide the Insureds with a defense under the Policy in

connection with the Administrative Actions.




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       43.     To effectuate rescission of the Policy, Allied World will be tendering to the

Insureds the premium paid for the Policy.

       44.     Allied World promptly resCinded the Policy and filed this action upon learning of

the Insureds' misrepresentations.

       45.     The Policy is void ab initio and Allied World is entitled to an order confirming its

rescission of the Policy.

                COUNT II — RESCISSION OF THE POLICY
      (DECLARATION THAT THE POLICY IS VOID AB INITIO DUE TO THE
      MISREPRESENTATION IN POLICY APPLICATION QUESTION NO. 14.n.

       46.     Allied World incorporates the allegations in paragraphs 1 through 35.

       47.     The Policy was issued by Allied World to the Insureds in Alabama and is subject

to Alabama law.

       48.     Under Alabama Code § 27-14-7, an insurer may rescind an insurance policy when

the insured has made material misrepresentations or omissions ot concealed facts in an application,

which affected the insurer's decision to issue the policy, the amount of the coverage provided or

the amount of the premiUms.

       49.     In response to Renewal Application Question Number 14.f. Dr. Meghani,on behalf

of the Insureds, misrepresented that there was no circumstance of which any Insured, including

himself, was aware ofthat may result in any professional liability claim or suit being made against

any Insured, including himself.

       50.     This misrepresentation was material to Allied World's acceptance ofthe risk in that

it affected Allied World's decision to issue the Policy, the amount ofthe coverage provided, or the

amount of the premium it charged.

       51.     Had the Insureds provided Allied World with the true facts, including that a

complainant was alleging that the hisureds' overprescribing of his wife led to het death and that


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the Board was investigating Dr. Meghani's and Mr. Norris' prescribing practices associated with

at least nine other patients, Allied World would not have issued the Policy or would have issued

the Policy upon different terms.

       52.     As a result of Allied World's justifiable reliance on the InsUreds'

misrepresentations and/or omissions of material fact, Allied World has been and continues to be

injured because it has and continues to provide the Insureds with a defense under the Policy in

connection with the Administrative Actions.

       53.     To effectuate rescission of the Policy, Allied World will be tendering to the

Insureds the premium paid for the Policy.

       54.     Allied World promptly rescinded the Policy and filed this action upon learning of

the Insureds' misrepresentations.

       55.     The Policy is void ab initio and Allied World is entitled to an order confirMing its

rescission of the Policy.

              COUNT III — RECOUPMENT OF DEFENSE COSTS
 (DECLARATION THAT ALLIED WORLD IS ENTITLED TO REIMBURSEMENT
OF ITS COSTS DEFENDING THE INSUREDS IN THE ADMINISTRATIVE ACTIONS)

       56.     Allied World incorporates the allegations in paragraphs 1 through 35.

       57.     The Policy was issued by Allied World to the Insureds in Alabama and is subject

to Alabama law.

       58.     Allied World has incurred and will continue to incur expenses on behalf of the

Insureds under the Policy, including the Insureds' defense ofthe Administrative Actions, and may

incur other liabilities under the Policy until judicial confirmation of its rescission.

       59.     Allied World has notified the Insureds of and reserved its right to seek

reimbursement of the sums it expends in the Insureds' defense of the Administrative Actions and




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seeks reimbursement of those sums as well as any other sums it may expend on the Insureds'

behalf under the Policy.

       60.     Parties to a rescinded contract are entitled to be returned to the status quo ante.

Allied World is entitled to be reimbursed by the Insureds for the sums that Allied World pays on

their behalf prior to this Court's order confirming Allied World's rescission ofthe Policy.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Allied World Insurance Company respectfully prays for

judgment against the Defendants as follows and that this Court declare that:

       A.      On Count I, that the Policy is void ab initio due to a material misrepresentation and

that, therefore, Allied World properly rescinded the Policy;

       B.      On Count II, that the Policy is void ab initio due to a material misrepresentation

and that, therefore, Allied World properly rescinded the Policy;

       C.      On Count III, reimbursement from the Defendants for all costs and ekpenses paid

by Allied World on their behalf under the Policy, including all sums paid to defend the Insureds

against the Administrative Actions from the tender of those actions to Allied World to the date of

the order confirming Allied World's rescission of the Policy;

       D.      Allied World is entitled to its attorney's fees, costs;and expenses for this suit; and

       E.      For all other relief as this Court deems proper and just.




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Dated: June 17, 2019                Respectfully submitted,

                                    /s/      -1.41---t-i--&f
                                    E. Britton Monroe
                                    Jennifer W. Wall
                                    Lloyd, Gray, Whitehead & Monroe PC
                                    880 Montclair Road, Suite 100
                                    Birmingham, AL 35213
                                    bmonroeAlgwpc.com
                                    jwall@lgwmlaw.com
                                    (205)967-8822


                                    Charles A. Jones
                                    (Pro Hac Vice to be filed)
                                    Jordan M. Rubinstein
                                    (Pro Hac Vice to be filed)
                                    James H. Geiser
                                    (Pro Hac Vice to be filed)
                                    Troutman Sanders LLP
                                    401 9th Street NW #1000
                                    Washington, DC 20004
                                    Tony.JonesAtroutman.com
                                    Jordan.Rubinstein@troutman.com
                                    James.Geiser@troutman.com
                                    (202)274-2950

                                    Attorneysfor Plaintif
                                                        fAllied World
                                    Insurance Company




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Please serve Defendants as follows:


Professional Resource Management of Wiregrass, LLC by Agent of Service, Shakir Meghani

1841 Honeysuckle Rd

Dothan, AL 36305



Shakir Meghani, M.D.

1841 Honeysuckle Rd

Dothan, AL 36305



Jeffrey T. Norris, P.A.

1118 Ross Clark Circle

Suite 301

Dothan, AL 36301




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